     Case 2:13-cr-00008-WFN     ECF No. 1401    filed 09/23/13   PageID.5224 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4
                         EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                      No. CR-13-008-WFN-48
 7
                Plaintiff,                        ORDER DENYING DEFENDANT’S
 8 vs.                                            MOTION FOR RECONSIDERATION
 9                                                ☒      Motion Denied
   SALIMAH NORRAH GLASS,
10                                                       (ECF No. 1385)
11                      Defendant.
12         At the September 19, 2013, hearing on Defendant’s Motion for
13   Reconsideration, Assistant U.S. Attorney represented the United States. Defendant
14   was present in the courtroom; defense counsel Gregory Scott appeared by video
15   conference.
16         The United States opposed Defendant’s Motion. Both sides argued.
17         The Court finds there are no conditions or a combination of conditions that
18   would reasonably assure this Defendant's presence at trial.
19         IT IS ORDERED Defendant’s Motion for release from custody, ECF No.
20   1385, is DENIED. Defendant shall remain in the custody of the U.S. Marshal
21   pending further order of the court.
22          The U.S. Probation Office personnel shall prepare an updated Pretrial
23   Services Report, and shall notify defense counsel prior to interviewing Defendant.
24         DATED September 23, 2013.
25
26                              S/ JOHN T. RODGERS
                         UNITED STATES MAGISTRATE JUDGE
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28
     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
